Case 2:23-cv-00118-KHR   Document 149-1   Filed 01/29/25   Page 1 of 7




                EXHIBIT “A”
      Case 2:23-cv-00118-KHR   Document 149-1      Filed 01/29/25   Page 2 of 7




                                                                           Page 1

 1                      UNITED STATES DISTRICT COURT
 2                   IN AND FOR THE DISTRICT OF WYOMING
 3       - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
         STEPHANIE WADSWORTH, individually
 4       and as Parent and legal guardian
         of WW, KW, GW and SW, minor
 5       children of MATTHEW WADSWORTH,
 6                             Plaintiffs,   Case No.
                                             2:23-cv-00118-NDF
 7             vs.
 8       WALMART, INC., and JETSON ELECTRIC
         BIKES, LLC,
 9
                                   Defendants.
10
         - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
11
                        VIDEO-RECORDED DEPOSITION OF:
12                       CORPORATE REPRESENTATIVE OF
                            JETSON ELECTRIC BIKES
13                                SAM HUSAIN
14                  TAKEN AT: McCOY, LEAVITT, LASKEY LAW
15                  LOCATED AT: N19 W24200 Riverwood Drive
                             Waukesha, Wisconsin
16
                                    May 17, 2024
17
                               9:36 a.m. to 2:11 p.m.
18
                    REPORTED BY:      VICKY L. ST. GEORGE, RMR.
19
         - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
20
21
22
23
24
25       JOB NO. 6646833

                                  Veritext Legal Solutions
     800-726-7007                                                             305-376-8800
      Case 2:23-cv-00118-KHR   Document 149-1      Filed 01/29/25   Page 3 of 7




                                                                        Page 102

 1       A.     Yes.
 2       Q.     Back in 2022 was the manufacturer of the Jetson Rogue
 3              lithium battery the same as the manufacturer of the
 4              Jetson Plasma lithium battery?
 5       A.     Of the battery itself?
 6       Q.     Yes, sir.
 7       A.     Yes.
 8       Q.     So the lithium batteries in the Jetson Rogue that's
 9              referenced in 55 --
10       A.     Um-hum.
11       Q.     -- Exhibit 55, would have been manufactured by the
12              same company that -- Strike that.
13                          The lithium battery manufacturer of the
14              Jetson Rogue was the same lithium battery
15              manufacturer for the Jetson Plasma that the Wadsworth
16              family owned, correct?
17       A.     The manufacturer of the battery pack?
18       Q.     Yes, sir.
19       A.     Yes.
20       Q.     Okay.   And I understand other components, for
21              instance, you know, the wheels or the foot plate or
22              what have you, those may have different
23              manufacturers.     However, the battery itself was
24              manufactured by the same company?
25       A.     Yes, but it's a different spec of a battery.

                                  Veritext Legal Solutions
     800-726-7007                                                             305-376-8800
      Case 2:23-cv-00118-KHR   Document 149-1      Filed 01/29/25   Page 4 of 7




                                                                        Page 103

 1       Q.     Okay.   Describe what you mean.
 2       A.     So yes, the manufacturer is the same.                I'll just use
 3              a layman's example -- maybe not.              It's the
 4              manufacturer is the same but it's two different
 5              models.
 6       Q.     Got it.
 7       A.     If that makes sense.
 8       Q.     It does make sense.        Are you familiar with the
 9              differences between the lithium battery in the Plasma
10              versus the one in this Rogue from 2022?
11       A.     The specifications?
12       Q.     Yes, sir.
13       A.     Yes.
14       Q.     And what are some of the differences in the specs
15              between the Plasma battery that the Wadsworths owned
16              and the Hoverboard the Wadsworths owned and the
17              battery that was in the Jetson Rogue?
18       A.     The capacity of the cell that goes into the battery
19              pack are different.
20       Q.     Okay.   Anything else?
21       A.     And I am almost -- actually, I shouldn't -- I'm not
22              sure but usually when the battery pack is different,
23              there is something called the BMS system which is the
24              brain of the battery, that is also different.
25       Q.     Okay.   Are you -- is that, the BMS being different

                                  Veritext Legal Solutions
     800-726-7007                                                             305-376-8800
      Case 2:23-cv-00118-KHR   Document 149-1      Filed 01/29/25   Page 5 of 7




                                                                        Page 104

 1              between the Plasma and the Rogue, is that something
 2              that you're unsure of or are you sure that it would
 3              have been different?
 4       A.     I am unsure -- sorry, I'm sure it's different but I'm
 5              unsure of the differences.            Sorry if I missed that
 6              answer.
 7       Q.     That makes sense.      What's the difference in capacity
 8              between the two?
 9       A.     The one that's here for the Rogue, the capacity was 2
10              amp hour, and the one that's the Jetson Plasma here
11              is a 2.5 amp hour.
12       Q.     Higher capacity in the Plasma?
13       A.     Correct.
14       Q.     Are you familiar with how a higher capacity of cells
15              in the battery of the Plasma affects and impacts any
16              potential risk of fire or explosion?
17       A.     The difference here is .5, so my personal knowledge
18              it's very minimal.
19       Q.     Okay.   So they're pretty similar in capacity?
20       A.     Sure.
21                         MR. LAFLAMME:         Object to form.
22       BY MR. AYALA:
23       Q.     This Exhibit 55 goes on to state that "CPSC has
24              secured a strong recall remedy designed to get Jetson
25              Rogue Hoverboards away from consumers as quickly as

                                  Veritext Legal Solutions
     800-726-7007                                                             305-376-8800
      Case 2:23-cv-00118-KHR   Document 149-1      Filed 01/29/25   Page 6 of 7




                                                                        Page 116

 1              company or counsel.
 2       Q.     Before March 30th, 2023, did Jetson know that the
 3              battery pack of the Jetson Rogue posed a fire hazard
 4              due to overheating?
 5       A.     No.
 6       Q.     It never received any notice or complaint or concern
 7              from anyone including manufacturers about that
 8              concern?
 9                         MR. LAFLAMME:         Object to form.
10                         THE WITNESS:        I believe I stated the
11              customer service team might have had some inquiries
12              from customers stating any of those, but again, I
13              don't know the details off the top of my head of
14              those circumstances and the use and et cetera as I
15              mentioned earlier of a product causing a thermal
16              event or a heat.
17       BY MR. AYALA:
18       Q.     And you also don't know the number of complaints
19              received by Jetson relating to overheating concerns
20              or fire hazard concerns with the Rogue prior to this
21              notice by the CPSC?
22       A.     I don't remember the exact number.
23       Q.     Okay.   Prior to the incident that we're here about in
24              February of 2022, did Jetson receive any complaints
25              from customers or concerns from customers relating to

                                  Veritext Legal Solutions
     800-726-7007                                                             305-376-8800
      Case 2:23-cv-00118-KHR   Document 149-1      Filed 01/29/25   Page 7 of 7




                                                                        Page 117

 1              overheating or fire hazards?
 2                         MR. LAFLAMME:         Object to form.
 3                         MR. AYALA:       Relating to this Hoverboard,
 4              the Plasma.
 5                         MR. LAFLAMME:         The Plasma.
 6                         THE WITNESS:        I believe there were two
 7              incidents, one of them was settled and another one
 8              was determined it was an RC powered battery, an RC
 9              car powered battery and was not our product Jetson
10              Plasma.
11       BY MR. AYALA:
12       Q.     Okay.   And so those are the only two complaints or
13              concerns that Jetson received prior to February 2022
14              about the Plasma overheating or creating a fire risk,
15              or are you saying that those are the only two claims
16              or potential claims that arose?
17       A.     Those are the two potential claims that arose
18              regarding the product Jetson Plasma.
19       Q.     Okay.   And so my question was a little bit different.
20                         My question was how many complaints by
21              customers were received prior to February 2022
22              relating to the Plasma and overheating or fire
23              hazard?
24       A.     Those were the two.
25       Q.     Okay.   No comments, no emails, no inquiries prior to

                                  Veritext Legal Solutions
     800-726-7007                                                             305-376-8800
